       Case 5:13-cv-00687-D Document 168 Filed 02/24/16 Page 1 of 1
           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA



Hipoint Partners, LLC, et al, )
                              )
               Plaintiffs,    )
                              )
     vs.                      ) Case No. CIV-13-687-D
                              )
Pathfinder/LL&D Insurance     )
Group, LLC, et al,            )
                              )
               Defendants.    )


                    ADMINISTRATIVE CLOSING ORDER

     IT APPEARING that these proceedings should be held in abeyance

pursuant to the settlement and compromise being effected by the

parties, it is ordered that the Clerk administratively terminate

this action in her records without prejudice to the rights of the

parties to reopen the proceedings for good cause shown for the

entry of any stipulation or order, or for any other purpose

required to obtain a final determination of the litigation.           If

within 60 days hereof, the parties have not reopened for the

purpose of obtaining such a final determination, this action will

be deemed to be dismissed with prejudice.

     IT IS SO ORDERED this 24th day of February, 2016.
